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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA


 BABY DOE, et al.,                                    )
                                                      )
                Plaintiffs,                           )
                                                      )
 v.                                                   )      Case No. 3:22-cv-00049-NKM
                                                      )
 JOSHUA MAST, et al.,                                 )
                                                      )
                Defendants,                           )
                                                      )
 and                                                  )
                                                      )
 UNITED STATES SECRETARY OF                           )
 STATE ANTONY BLINKEN, et al.,                        )
                                                      )
                Nominal Defendants.                   )
                                                      )

                  MOTION FOR EXTENSION OF TIME TO FILE
                     A RESPONSE TO THE COMPLAINT

        Under Civil Rule 6(b)(1), Defendants Joshua Mast and Stephanie Mast jointly

 move for an order allowing them until November 1, 2022, to respond to the

 Complaint, which is 60 days from the service date indicated on the docket.1



 1
   As explained herein, movants believe that Joshua Mast is already entitled to this time under Rule
 12(a)(3) because the allegations in the Complaint concern, at least in part, acts or omissions he
 allegedly made “in connection with” his duties performed on behalf of the United States—namely,
 his U.S. military service in Afghanistan. Movants seek this extension to ensure that he and his
 wife, Stephanie Mast, can respond on the same schedule. Plaintiffs’ counsel, however, has
 indicated that they do not agree on the application of Rule 12(a)(3) and oppose this request.
 Movants therefore seek an order setting a November 1 response deadline for them both to avoid
 any ambiguity or doubt. In addition, while the docket reflects a service date of September 2, 2022,
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        In support of this motion, the Masts assert:

        1.      Under Civil Rule 12(a)(3), Joshua Mast should already be entitled to 60

 days to respond. Joshua Mast’s contact with Baby Doe (who is currently in the

 Masts’ legal custody) and with John and Jane Doe arises from his service in the U.S.

 military in Afghanistan, as recognized by the Complaint. 2 As such, this lawsuit,

 brought against Joshua Mast in his individual capacity, relates to “act[s] or

 omission[s] occurring in connection with duties performed on the United States’

 behalf.” Fed. R. Civ. Pro. 12(a)(3). The Fourth Circuit has broadly construed

 similarly capacious language that affords procedural rights to federal officers or

 employees who face suit. See Cnty. Bd. of Arlington Cnty. v. Express Scripts

 Pharmacy, Inc., 996 F.3d 243, 256 (4th Cir. 2021) (holding that the federal officer

 removal statute, which covers claims that “relat[e] to any act under color of [federal]

 office,” is “broad[]” and applies when there is “a connection or association between

 the act in question and the federal office.” (citations and internal quotation marks

 omitted)).




 for both Joshua and Stephanie Mast, the proofs of service correctly reflect that they were served
 on the evening of Labor Day, Monday, September 5, 2022. See Dkt. Nos. 24, 25.
 2
   See, e.g., Compl. ¶ 25 (“Through his employment as an attorney in the United States Marine
 Corps deployed in Afghanistan, Joshua Mast learned of Baby Doe while she was in the custody of
 the Department of Defense (the ‘DoD’) and under the care of the Military Health System[].”); id.
 ¶ 28 (“Joshua Mast is an attorney, barred in Virginia, who served at the Center for Law and Military
 Operations . . . .”); ¶ 33 (alleging that Joshua Mast failed to comply with duties he had as “a U.S.
 military attorney working in Afghanistan”).
                                                  2
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       2.     Stephanie Mast, Joshua’s wife, should be permitted to respond to the

 complaint jointly with her husband. Stephanie would not be involved in this matter

 but for Joshua’s time spent in Afghanistan as part of the U.S. military, and the

 allegations in the Complaint that relate to her also relate to Joshua Mast. Stephanie

 Mast plans to respond jointly with Joshua Mast, and judicial economy thus favors

 allowing Stephanie Mast to have 60 days from the date of service to file her

 responsive pleading as well.

       3.     The Masts recently retained the undersigned counsel, who is assessing

 the best defenses to present in this case. This case involves a substantial prior history,

 including multiple separate legal proceedings with many important filings under

 seal. Undersigned counsel wishes to ensure adequate time to investigate and respond

 to the allegations in the Complaint. While undersigned counsel is working diligently

 to get up to speed on this matter and to prepare a response for Joshua and Stephanie

 Mast, the complexity of the case and the unique limitations on access to relevant

 materials warrant additional time.

       4.     Undersigned counsel must also address pending deadlines in other

 matters for other clients, including responding by Thursday, October 6th, to a joint

 motion by the U.S. Department of Justice and plaintiffs in Sweet v. Cardona, No.

 3:19-cv-03674 (N.D. Cal.) before the Hon. William Alsup; and meeting and

 conferring with opposing counsel by Friday, September 30, 2022, on a pending


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 request for leave to amend claims against counsel’s client in Wright v. Capital One,

 No. 1:21-cv-00803 (E.D. Va.) before the Hon. Claude M. Hilton and Magistrate

 Judge Ivan D. Davis.

       5.     Undersigned counsel understands that other individual defendants have

 either just recently retained counsel or are in the process of seeking counsel to

 represent them in this matter. It would be beneficial for all defendants to have the

 opportunity to meet and confer before responding to the allegations in the

 Complaint. Plaintiffs also sued U.S. Secretary of State Antony Blinken and U.S.

 Secretary of Defense Lloyd Austin in their official capacities and served those

 defendants on September 8, 2022. They are entitled to 60 days to respond under Rule

 12(a)(2), and they will not be required to respond until November 7, 2022. The Masts

 are not seeking to extend their response deadline beyond the deadline for these

 defendants. And given the posture of the other defendants in this case, the plaintiffs

 are unlikely to be prejudiced by Joshua and Stephanie Mast’s filing of a response by

 November 1.

       6.     Counsel for the Masts has conferred with plaintiffs’ counsel, requesting

 consent for a November 1 deadline and offering a compromise deadline of October

 21. Plaintiffs do not consent to the Masts’ request for an extension of time.




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       For the foregoing reasons, Joshua and Stephanie Mast move the Court to order

 that they respond to the Complaint on or before November 1, 2022.



 Dated: September 22, 2022                   Respectfully submitted,

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